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2
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5
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     TCB INDUSTRIAL, INC.
7
                                      UNITED STATES BANKRUPTCY COURT
8
9                                     NORTHERN DISTRICT OF CALIFORNIA

10                                             SAN FRANCISCO DIVISION
11
12   In Re
                                                    Case No. 19-30088-DM (Lead Case)
13   PG&E CORPORATION
                                                    Jointly Administered with
14
     and                                            Case No. 19-30089-DM
15
     PACIFIC GAS AND ELECTRIC                       TCB INDUSTRIAL, INC.’S
16   COMPANY,                                       NOTICE OF WITHDRAWAL OF NOTICE OF
                                                    PERFECTION OF LIEN PURSUANT TO
17
                                Debtors.            11 U.S.C. § § 362, 546(b)
18   Affects:
      PG&E Corporation                             [Job No. 18-220 Shasta County
19    Pacific Gas & Electric Company               APN 21190007000]
      Both Debtors
20   *All papers shall be filed in the Lead Case
     Case No. 19-30088DM
21
     __________________________________
22
23            Creditor TCB INDUSTRIAL, INC. (“TCB”), by and through its undersigned counsel, hereby

24   files this Notice of Withdrawal of Notice of Perfection of Lien against the Debtors, PG&E Corporation

25   and Pacific Gas & Electric Company (“Debtors”) pursuant to 11 U.S.C. §§ 362(b)(3) and 546(b)

26   (“Notice”). Said Notice was filed with the Court on March 27, 2019 at docket 1065, and concerned
     TCB’s claim for $56,134.70 against the real property commonly known as the PIT 5 Road, Big Bend,
27
     California, APN 21190007000.
28


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                                                     3
1        Dated: April 17, 2019.
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                                                 OSHINSKI & FORSBERG, LTD.
3
4
                                                 By    /s/ Rick Oshinski, Esq.
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                                                       Rick Oshinski, Esq., CSB 155837
6                                                      Attorney for Creditor
                                                       TCB INDUSTRIAL, INC.
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1                                       CERTIFICATE OF SERVICE
2           I, the undersigned, declare and certify as follows:
3           I am over 18 years of age, not a party to this action and employed in Carson City, Nevada. My
4    business address is 504 E. Musser Street, Suite 202, Carson City, Nevada 89701.

5           On April 17, 2019, I served true and correct copies of TCB Industrial Inc.’s Notice of

6    Withdrawal of Notice of Perfection of Lien [Job No. 18-220 Shasta County APN 21190007000] on

7    the interested parties in this action pursuant to the Order Implementing Certain Notice and Case

8    Management Procedures issued March 6, 2019.

9                  BY CM/ECF ELECTRONIC FILING : I electronically filed the document with the

10   Clerk of the Court by using the CM/ECF system. Participants in the case who are registered CM/ECF

11   users will be served by the CM/ECF System. Participants in the case who are not registered CM/ECF

12   users will be served by mail or by other means permitted by court rules.

13          I declare under penalty of perjury under the laws of the state of California that the foregoing is

14   true and correct.

15          Executed on this 17th day of April, 2019, in Carson City, Nevada.

16
17
                                                           /s/ Linda Gilbertson
18                                                        Linda Gilbertson

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